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                             UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

 UNITED STATES OF AMERICA                         *     CRIMINAL NO. 15-0133-03


 VERSUS                                           *     JUDGE ROBERT G. JAMES


 BARBARA J. ISLAND                                *     MAG. JUDGE KAREN L. HAYES

                 REPORT AND RECOMMENDATION ON
  FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Upon reference of the District Court pursuant to 28 U.S.C. § 636(b), and with the written

and oral consent of the defendant, this cause came before the undersigned U. S. Magistrate Judge

on November 2, 2015, for administration of guilty plea and allocution of the defendant, Barbara

Island, under Rule 11 of the Federal Rules of Criminal Procedure. Defendant was present with

her counsel, Mr. Bob Noel.

       After said hearing, it is the finding of the undersigned that the defendant is fully

competent, that her plea of guilty is knowing and voluntary, and her guilty plea to Count One of

the Superseding Indictment, is fully supported by an oral factual basis for each of the essential

elements of the offense. In addition, both the government and the defendant have waived their

right to object to the report and recommendation. Accordingly,

       IT IS RECOMMENDED that the District Court ACCEPT the guilty plea of the

defendant, Barbara Island, in accordance with the terms of the plea agreement filed in the record

of these proceedings, and that Barbara Island be finally adjudged guilty of the offense charged in

Count One of the Superseding Indictment.

       IT IS FURTHER RECOMMENDED that, pursuant to the parties’ waiver of their right to
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object, that the District Court immediately adopt the report and recommendation without passage

of the customary delays.

       In Chambers, at Monroe, Louisiana, this 2nd day of November 2015.



                                                   __________________________________
                                                   KAREN L. HAYES
                                                   UNITED STATES MAGISTRATE JUDGE
